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12                                UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                     OAKLAND DIVISION

15   IN RE LITHIUM ION BATTERIES                   Case No. 13-md-02420 YGR (DMR)
     ANTITRUST LITIGATION
16                                                 CLASS ACTION
17                                                 ORDER DENYING
                                                   ADMINISTRATIVE MOTIONS TO
18                                                 FILE UNDER SEAL PORTIONS OF
                                                   CONSOLIDATED SECOND
19                                                 AMENDED CLASS ACTION
                                                   COMPLAINTS
20

21                                                 Dkt. Nos. 407 and 408
22
     This Documents Relates to:
23
     ALL INDIRECT AND DIRECT PURCHASER
24   ACTIONS                                       DATE ACTION FILED: Oct. 3, 2012
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 1          Two matters are before the Court pursuant to Civil Local Rule 79-5(d):

 2          1)      Direct Purchaser Plaintiffs’ administrative motion to seal portions of the Direct

 3   Purchaser Plainitffs' Second Consolidated Amended Complaint ("DPP-CAC") (Dkt. No. 407); and

 4          2)      Indirect Purchaser Plaintiffs’ administrative motion to seal portions of the Indirect

 5   Purchaser Plaintiffs’ Consolidated Second Amended Class Action Complaint ("IPP-SAC") (Dkt.

 6   No. 408).

 7          In light of defendants' non-objection to the filing of said complaints in the public record

 8   (Dkt. No. 412), the motions are DENIED. The DPP-SAC and IPP-SAC shall be filed in the public
 9   record within three days of this Order.
10          This Order terminates Docket Nos. 407 and 408.
11          IT IS SO ORDERED.
12

13   DATED: April 8, 2014
14
                                                 JUDGE YVONNE GONZALEZ ROGERS
15                                               UNITED STATES DISTRICT JUDGE
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